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STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.

   0      Valuation of Security       0    Assumption of Executory Contract or Unexpired Lease           3      Lien Avoidance
                                                                                                         2

                                                                                                             Last revised: August 1, 2020

                                           UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF NEW JERSEY
In Re:                                                                             Case No.:               19-27085-MBK
                                                                                                      ____________________

                                                                                   Judge:                     Kaplan
                                                                                                      ____________________
 Temeko R. Foster & Michelle R. Foster
                              Debtor(s)

                                                 Chapter 13 Plan and Motions

          ☐ Original                           ☐ Modified/Notice Required                             Date:      11/20/2020
                                                                                                                _________________

          ☐ Motions Included                   ☐ Modified/No Notice Required

                                           THE DEBTOR HAS FILED FOR RELIEF UNDER
                                            CHAPTER 13 OF THE BANKRUPTCY CODE

                                                 YOUR RIGHTS MAY BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan
or any motion included in it must file a written objection within the time frame stated in the Notice. Your rights may be affected by this
plan. Your claim may be reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included motions may
be granted without further notice or hearing, unless written objection is filed before the deadline stated in the Notice. The Court may
confirm this plan, if there are no timely filed objections, without further notice. See Bankruptcy Rule 3015. If this plan includes motions
to avoid or modify a lien, the lien avoidance or modification may take place solely within the chapter 13 confirmation process. The plan
confirmation order alone will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid or
modify a lien based on value of the collateral or to reduce the interest rate. An affected lien creditor who wishes to contest said
treatment must file a timely objection and appear at the confirmation hearing to prosecute same.


The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan
includes each of the following items. If an item is checked as “Does Not” or if both boxes are checked, the provision will be
ineffective if set out later in the plan.

THIS PLAN:

☐ DOES ☐ DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH
IN PART 10.

☐ DOES ☐ DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH
MAY RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN
PART 7, IF ANY.

☐ DOES ☐ DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST.
SEE MOTIONS SET FORTH IN PART 7, IF ANY.

                                 LMP
Initial Debtor(s)’ Attorney: ___________                            TRF
                                               Initial Debtor: ______________                              MRF
                                                                                   Initial Co-Debtor: _______________
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Part 1:    Payment and Length of Plan
                                    600.00
     a. The debtor shall pay $ _______________          month
                                               per _______________ to the Chapter 13 Trustee, starting on
             11/01/2020
     _________________________                          47
                               for approximately _______________ months.

    b. The debtor shall make plan payments to the Trustee from the following sources:

            ☐    Future earnings

            ☐    Other sources of funding (describe source, amount and date when funds are available):




      c. Use of real property to satisfy plan obligations:

          ☐ Sale of real property
             Description:
             Proposed date for completion: ____________________

          ☐ Refinance of real property:
             Description:
             Proposed date for completion: ____________________

          ☐ Loan modification with respect to mortgage encumbering property:
             Description:
             Proposed date for completion: ____________________

      d. ☐ The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

      e. ☐ Other information that may be important relating to the payment and length of plan:
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Part 2:      Adequate Protection ☐ NONE


      a. Adequate protection payments will be made in the amount of $ _______________ to be paid to the Chapter
13 Trustee and disbursed pre-confirmation to ______________________________ (creditor).
      b. Adequate protection payments will be made in the amount of $ _______________ to be paid directly by the
debtor(s) outside the Plan, pre-confirmation to: ______________________________ (creditor).

Part 3:      Priority Claims (Including Administrative Expenses)

 a.        All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                     Type of Priority                         Amount to be Paid

CHAPTER 13 STANDING TRUSTEE                            ADMINISTRATIVE                   AS ALLOWED BY STATUTE

ATTORNEY FEE BALANCE                                   ADMINISTRATIVE                   BALANCE DUE: $ 3,315.00




INTERNAL REVENUE SERVICE                    FEDERAL INCOME TAX                        $4,675.36




      b.    Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount:
            Check one:
            ☐ None
            ☐ The allowed priority claims listed below are based on a domestic support obligation that has been assigned
            to or is owed to a governmental unit and will be paid less than the full amount of the claim pursuant to 11
            U.S.C.1322(a)(4):


Creditor                                     Type of Priority                         Claim Amount   Amount to be Paid

                                             Domestic Support Obligations assigned
                                             or owed to a governmental unit and
                                             paid less than full amount.
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Part 4:     Secured Claims

      a. Curing Default and Maintaining Payments on Principal Residence: ☐ NONE
      The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and
the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as
follows:

Creditor             Collateral or Type    Arrearage              Interest Rate on          Amount to be Paid    Regular Monthly
                     of Debt                                      Arrearage                 to Creditor (In      Payment (Outside
                                                                                            Plan)                Plan)




b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears: ☐ NONE
The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the
debtor will pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

 Creditor                  Collateral or Type      Arrearage             Interest Rate on        Amount to be Paid     Regular
                           of Debt                                       Arrearage               to Creditor (In       Monthly
                                                                                                 Plan)                 Payment
                                                                                                                       (Outside
                                                                                                                       Plan)




c. Secured claims excluded from 11 U.S.C. 506: ☐ NONE
The following claims were either incurred within 910 days before the petition date and are secured by a purchase
money security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of
the petition date and secured by a purchase money security interest in any other thing of value:

     Name of Creditor                Collateral          Interest Rate     Amount of             Total to be Paid through the Plan
                                                                            Claim                 Including Interest Calculation
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       d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments ☐ NONE
       1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as
stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.

                              NOTE: A modification under this Section ALSO REQUIRES
                            the appropriate motion to be filed under Section 7 of the Plan.


Creditor            Collateral   Scheduled         Total           Superior Liens      Value of        Annual         Total
                                 Debt              Collateral                          Creditor        Interest       Amount to
                                                   Value                               Interest in     Rate           be Paid
                                                                                       Collateral




      2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.




      e. Surrender ☐ NONE
      Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and that the
stay under 11 U.S.C 1301 be terminated in all respects. The Debtor surrenders the following collateral:


Creditor                                      Collateral to be Surrendered      Value of Surrendered     Remaining
                                                                                Collateral               Unsecured Debt


MEB LOAN TRUST                               51 Pageant Lane                    $165,000.00             $46,709.10
c/o SELECT PORTFOLIO SERVICING INC

Loancare                                     51 Pageant Lane                    $165,000.00             $171,558.00
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        f. Secured Claims Unaffected by the Plan ☐ NONE
            The following secured claims are unaffected by the Plan:

Caliber Home Loans




 g. Secured Claims to be Paid in Full Through the Plan: ☐ NONE

 Creditor                                      Collateral                                   Total Amount to be
                                                                                            Paid Through the Plan


 Wells Fargo (claim #10)                      400 Maple Grove Boulevard                 $19,731.63




 Part 5:     Unsecured Claims ☐ NONE

        a. Not separately classified allowed non-priority unsecured claims shall be paid:
            ☐ Not less than $ _______________ to be distributed pro rata
            ☐ Not less than _______________ percent
            ☐ Pro Rata distribution from any remaining funds

        b. Separately classified unsecured claims shall be treated as follows:

 Creditor                            Basis for Separate Classification    Treatment                    Amount to be Paid
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Part 6:        Executory Contracts and Unexpired Leases ☐ NONE

    (NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential real
property leases in this Plan.)

       All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except
the following, which are assumed:

Creditor                    Arrears to be Cured in      Nature of Contract or       Treatment by Debtor      Post-Petition Payment
                            Plan                        Lease


Joann Moody                 $0.00                       Residential lease            Reject                  $0.00




Part 7:       Motions ☐ NONE

NOTE: All plans containing motions must be served on all affected lienholders, together with local form,
Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A
Certification of Service, Notice of Chapter 13 Plan Transmittal, and valuation must be filed with the Clerk of
Court when the plan and transmittal notice are served.


           a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f). ☐ NONE

           The Debtor moves to avoid the following liens that impair exemptions:


Creditor                    Nature of        Type of Lien    Amount of      Value of          Amount of   Sum of All    Amount of
                            Collateral                       Lien           Collateral        Claimed     Other Liens   Lien to be
                                                                                              Exemption   Against the   Avoided
                                                                                                          Property



Bank Of America             400 Maple       Judgment        $11,215.00      $353,000.00       $1.00       $365,000.00   $11,215.00
                            Grove Blvd
Citibank                    400 Maple       Judgment        $3,917.00       $353,000.00       $1.00       $365,000.00   $3,917.00
                            Grove Blvd
Discover Bank               400 Maple       Judgment        $6,185.53       $353,000.00       $1.00       $365,000.00   $6,185.53
                            Grove Blvd
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      b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured. ☐ NONE

      The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with
Part 4 above:

Creditor          Collateral    Scheduled     Total           Superior Liens       Value of Creditor’s   Total Amount of
                                Debt          Collateral                           Interest in           Lien to be
                                              Value                                Collateral            Reclassified




     c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured. ☐ NONE
       The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void
liens on collateral consistent with Part 4 above:


Creditor          Collateral   Scheduled     Total            Amount to be                    Amount to be
                               Debt          Collateral       Deemed Secured                  Reclassified as Unsecured
                                             Value




Part 8:     Other Plan Provisions

      a. Vesting of Property of the Estate
           ☐ Upon confirmation
           ☐ Upon discharge

      b. Payment Notices
     Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.
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        c. Order of Distribution
        The Standing Trustee shall pay allowed claims in the following order:
           1) Ch. 13 Standing Trustee commissions
              Lee M. Perlman, Esquire
           2) ___________________________________________________________
              Secured Creditors
           3) ___________________________________________________________
              Priority Creditors/Unsecured Creditors
           4) ___________________________________________________________

        d. Post-Petition Claims
        The Standing Trustee ☐ is, ☐ is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section
1305(a) in the amount filed by the post-petition claimant.




Part 9:      Modification ☐ NONE


 NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be
 served in accordance with D.N.J. LBR 3015-2.


        If this Plan modifies a Plan previously filed in this case, complete the information below.
        Date of Plan being modified: _________________________.

Explain below why the plan is being modified:                         Explain below how the plan is being modified:

Debtors obtained a loan modification through Caliber Home Loans.      Removing mortgage arrears and loan modification terms. Caliber Home
Debtors can no longer afford to keep property located at 51 Pageant   Loans is now unaffected by the plan. Wells Fargo balance has been
Lane Willingboro, NJ.                                                 updated per the claim filed. Unsecured creditors to receive pro rata due
                                                                      to change in self-employment income. Debtors are surrendering
                                                                      property located at 51 Pageant Lane Willingboro, NJ. Rejecting the
                                                                      Executory Contract.




      Are Schedules I and J being filed simultaneously with this Modified Plan?                      ☐ Yes             ☐ No
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Part 10:    Non-Standard Provision(s): Signatures Required

Non-Standard Provisions Requiring Separate Signatures:

      ☐ NONE

      ☐ Explain here:




 Any non-standard provisions placed elsewhere in this plan are ineffective.




Signatures


The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s)
certify that the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13
Plan and Motions, other than any non-standard provisions included in Part 10.

I certify under penalty of perjury that the above is true.


      11/20/2020
Date: ______________________________                                 /s/ Temeko R. Foster
                                                                     ______________________________
                                                                     Debtor

      11/20/2020
Date: ______________________________                                 /s/ Michelle R. Foster
                                                                     ______________________________
                                                                     Joint Debtor

      11/20/2020
Date: ______________________________                                 /s/ Lee M. Perlman
                                                                     ______________________________
                                                                     Attorney for Debtor(s)
